PROB 12C
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ED/AR (2/2005)



                                  United States District Court
                                                                                       FILED
                                                                                     u.s. DISTRICT COURT
                                                                                 EASTERN DISTRICT ARKANSAS
                                              for the
                                    Eastern District of Arkansas


                                                                                                      DEP CUrRK




  Name of Offender: James Jackson                             Case Number: 4:02CR00094-001 WRW
 Name of Sentencing Judicial Officer:      Honorable William R. Wilson, Jr.
                                           United States District Judge

  Offense:               Possession with intent to distribute more than 5 grams of cocaine base

  Date of Sentence:      November 21,2002
  Sentence:              84 months Bureau of Prisons, 4 years supervised release, mandatory drug
                         testing, substance abuse treatment, and $100 special penalty assessment

                         March 3, 2008: Sentence of imprisonment reduced to time served under
                         18 U.S.C. 3582(c)(2), and immediately enter and complete residential
                         substance abuse treatment followed by chemical free living, all provisions of
                         judgment dated November 21,2002, shall remain in effect

                         March 24,2008: Revoked, 6 months Bureau of Prisons, 36 months
                         supervised release, mandatory drug testing, substance abuse treatment, and
                         $100 special penalty assessment

                         June 18, 2009: Revocation hearing continued for 90 days

                         September 29,2009: Revocation hearing continued for 45 days due to
                         offender being in detox

                         November 10,2009: Revocation hearing continued to November 25,2009,
                         due to offender reportedly being in residential treatment

                         November 10,2009: Revocation hearing continued to December 18,2009,
                         due to offender reportedly being in residential treatment until November 28,
                         2009

                         November 24,2009: Revocation hearing scheduled for December 22,2009,
                         at 10:00 a.m.
  Type of Supervision:   Supervised Release         Date Supervision Commenced: February 6, 2009
                                                    Expiration Date: February 5,2012
  Asst. U.S. Attorney: John Ray White               Defense Attorney: Teresa Bloodman
  U.S. Probation Officer: Robert L. Gwin
  Phone No.: 501-604-5270
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Prob 12C                                   -2-                    Petition for Summons for
                                                                Offender Under Supervision

Name of Offender: James Jackson                                   Case Number: 4:02CR00094-001 WRW


                                      PETITIONING THE COURT

The offender has violated the following condition(s) of supervision:

Condition      Nature of Noncompliance

   2           The defendant shall report to the probation officer and shall submit a truthful and
               complete written report within the first five days of each month.
               Mr. Jackson failed to submit a written report for November 2009 as required by the
               conditions of his supervision.

   3           The defendant shall answer truthfully all inquiries by the probation officer and
               follow the instructions of the probation officer.
               On November 24,2009, a home visit was attempted at Mr. Jackson's residence. No one
               answered the door, and written instructions were left at the residence addressed to Mr.
               Jackson, advising him to contact his probation officer as soon as possible. To date, he
               has failed to report as required.

               On December 14,2009, a notice was mailed to Mr. Jackson directing him to contact his
               probation officer as soon as possible. To date, Mr. Jackson has failed to respond as
               instructed by his probation officer.

Special        The defendant shall participate, if deemed necessary by the probation officer, in a
               substance abuse treatment program which may include testing, outpatient
               counseling, and/or residential treatment. The defendant shall abstain from the use
               of alcohol throughout the course of treatment. On December 2 and 11, 2009,
               Mr. Jackson failed to report to the U.S. Probation Office for a random drug test.

It is requested this information be included with the previously reported violations dated May 8;
August 24; September 25; and November 19,2009. A summons was previously issued and a revocation
hearing was held June 18,2009. The revocation hearing has been continued on two occasions based
upon reported information ofMr. Jackson being in residential treatment. Mr. Jackson's next revocation
hearing is scheduled for December 22, 2009. Mr. Jackson has retained Teresa Bloodman as counsel.
The Government is represented by Assistant U.S. Attorney John Ray White.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on     ~                   17, ~"i.                      ~
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 Robert L. Gwin
                                                                 \lM~~k
                                                                 ~       Ray White (
 U.S. Probation Officer                                             Assistant U.S. Attorney
 Date:     December 17,2009                                         Date:
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Prob 12C                                          -3-                       Petition for Summons for
                                                                          Offender Under Supervision

Name of Offender: James Jackson                                 Case Number: 4:02CR00094-001 WRW




This form is to be filed with Criminal Docketing as a motion.

Approved:




RLG/khm


cc: Teresa Bloodman, P.O. Box 13641, Maumelle, AR 72113
    Assistant U.S. Attorney, John Ray White, P.O. Box 1229, Little Rock, AR 72203
